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                                   5                                   UNITED STATES DISTRICT COURT

                                   6                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR
                                   8

                                   9           Plaintiff and Counter-Defendant,          ORDER REGARDING EVIDENTARY
                                                                                         HEARING AND SPECIAL MASTER
                                  10                          v.                         REVIEW
                                  11
                                        APPLE INC.,
                                  12
Northern District of California




                                               Defendant and Counterclaimant.
 United States District Court




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                                  14          The parties are familiar with the background of the immediate dispute. As part of the

                                  15   ongoing evidentiary hearing regarding Apple’s compliance with this Court’s injunction, the Court

                                  16   ordered Apple to produce all injunction-compliance related documents in May 2025.

                                  17   (Dkt. No. 974.) Apple asserted claims of privilege over a substantial portion of relevant

                                  18   documents, roughly 55,000. 1 Subsequent challenges and rulings against Apple resulted in Apple’s

                                  19   re-review and the appointment of review by three special masters. (See Dkt. Nos. 1074, 1081,

                                  20   1092, 1105.) Last month, the Court tentatively set the evidentiary hearing to resume on February

                                  21   24, 2025.

                                  22          Apple has now completed its re-review and production of documents to both the special

                                  23   masters and Epic Games, Inc. (“Epic”) and maintains claims of privilege over 23,716 documents.

                                  24   (Dkt. No. 1151 at 5–6.) As of January 30, 2025, the special masters had ruled on around 5,500 of

                                  25   those documents, leaving over 18,000 for review. (Id. at 2, 6.) The special masters have

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                                               Epic represents that Apple initially withheld around 55,000 documents for privilege after
                                  28   producing just under 100,000 documents. Dkt. No. 1151 at 1.
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                                   1   estimated that it will take them “at a minimum” through February or March to complete their

                                   2   review. (Id. at 6.) 2

                                   3           Time is of the essence. While a completed universe of non-privileged, relevant documents

                                   4   would be optimal, the Court recognizes that, should Apple be found to be in violation of the

                                   5   injunction, every day presents further injury to Epic. In supplemental filings, the parties at least

                                   6   appear to agree that the evidentiary hearing should resume on February 24, 2025, although they

                                   7   disagree as to how and whether certain documents should be prioritized in the special master

                                   8   review so they can be ruled on prior to resuming the hearing. (See Dkt. Nos.1162, 1169.)

                                   9           In light of the parties’ submissions and Magistrate Judge Hixson’s recommendation this

                                  10   past Friday, January 31, 2025, the Court ORDERS:

                                  11           First, assuming the Court is not in trial, the evidentiary hearing will resume on February

                                  12   24, 2025.
Northern District of California
 United States District Court




                                  13           Second, the special master review and production of non-privileged documents to Epic will

                                  14   continue in parallel to the evidentiary hearing. The Court agrees that designating certain

                                  15   documents for prioritized special master review may be conducive to a more productive use of

                                  16   time at the hearing. The Court recognizes that Apple has an inherent advantage here, because

                                  17   Apple knows the contents of every document, while Epic must designate in the dark. Thus, Epic

                                  18   may select 1,000 documents for immediate review by the special masters. The parties may then

                                  19   agree on a selection process for the balance to be conducted equally.

                                  20           Third, as a stopgap for Apple’s advantage created by its own delay, the Court will keep the

                                  21   evidentiary hearing open in the event Epic finds a critical document that requires testimony. All

                                  22   witnesses will not be excused and shall remain under the prior order prohibiting any

                                  23   communication on the issues pending until the Court issues an order to the contrary. The Court

                                  24   will also consider, as the parties’ supplemental filings suggest, the filing of any additional

                                  25   documents produced after the hearing date.

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                                               Epic notes that the special masters’ current pace suggests their review would not be
                                  28   complete until April at the earliest. Dkt. No. 1151 at 3.

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                                   1          Fourth, as set forth in this Court’s order dated December 31, 2024 (Dkt. No. 1095),

                                   2   Apple’s over-designation of privilege was inconsistent with Ninth Circuit law and was the source

                                   3   of the current delay. Sanctions are warranted. While the Court at this stage declines Epic’s

                                   4   invitation to bar Apple’s ability to claim any privilege, it believes the dual tracking is the most

                                   5   productive. The Court will consider what sanctions are warranted in the context of a full record

                                   6   and its overall findings.

                                   7          IT IS SO ORDERED.

                                   8   Dated: February 4, 2025
                                                                                                 YVONNE GONZALEZ ROGERS
                                   9                                                            UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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